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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                             Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                            Filed (f) or Converted (c): 04/04/13 (f)
                                                                                              §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                                 Claims Bar Date:            07/12/13

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                       Asset Description                                Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                                                  Remaining Assets

 1       Base, Shipping tray dieholder                                  166,905.98                           0.00                                 168,626.13                     FA

 2       Barclays, Lakin Rose Limited Re Nan Acct. No. XX                        0.00                        0.00                                         0.00                   FA

 3       JPMorgan Chase Bank, N.A., 10 S. Dearborn St., C                  1,259.00                          0.00                                         0.00                   FA

 4       FC Skokie LP, PO Box 72502, Cleveland, OH 44192                  38,636.00                          0.00                                         0.00                   FA

 5       Hacienda Investors, c/o Cooper and Company, 718                   6,381.00                          0.00                                         0.00                   FA

 6       PucoTech - SIV-000267/SI-000271                                   2,142.00                          0.00                                         0.00                   FA

 7       PucoTech - SIV-000276/SI-000280                                   2,142.00                          0.00                                         0.00                   FA
 8       PucoTech - SIV-000612/SI-000616                                   1,617.25                          0.00                                         0.00                   FA

 9       PucoTech - SIV-000613/SI-000617                                   4,063.05                          0.00                                         0.00                   FA

10       PucoTech - SIV-000614/SI-000618                                   4,063.05                          0.00                                         0.00                   FA

11       PucoTech - SIV-000615/SI-000619                                   4,063.05                          0.00                                         0.00                   FA

12       Dakota County Technical College - SIV-000619/SI-                      815.00                        0.00                                       815.00                   FA

13       Quantum Design Japan - SIV-000633/SI-000637                           385.00                        0.00                                         0.00                   FA

14       University of Alabama-Birmingham - 50014_022/400                 Unknown                            0.00                                         0.00                   FA

15       Karlsruhe Institute of Technology - 50024_022/40                 Unknown                            0.00                                         0.00                   FA

16       West Virginia University - SIV-000427/SI-000431                       988.65                        0.00                                         0.00                   FA

17       LOT Oriel AG - SIV-000621/SI-000625                               1,312.50                          0.00                                         0.00                   FA

18       Solid State Physics Laboratory - SIV-000555/SI-0                 38,146.00                          0.00                                         0.00                   FA

19       Exsor Com. e Imp. de Equipamentos de Precis?o Lt                 15,009.00                          0.00                                         0.00                   FA


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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                             Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                            Filed (f) or Converted (c): 04/04/13 (f)
                                                                                              §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                                 Claims Bar Date:            07/12/13

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                       Asset Description                                Petition/            Estimated Net Value             Property         Sale/Funds            Asset Fully
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                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                                                  Remaining Assets

20       Oakton Community College - SIV-000611/SI-000615                  59,500.00                          0.00                                  59,500.00                     FA

21       Oakton Community College - SIV-000635/SI-000639                   3,100.00                          0.00                                    3,100.00                    FA

22       Cambridge Bioscience - SIV-000568/SI-000572                           356.80                        0.00                                        0.00                    FA

23       Patent 7,060,977 - Nanolithographic Calibaration                 Unknown                            0.00                                        0.00                    FA

24       Patent 8,256,017 - Using Optical Deflection of C                 Unknown                            0.00                                        0.00                    FA

25       Patent 7,279,046 - Method and Appartus for Align                 Unknown                            0.00                                        0.00                    FA

26       Patent TW I266339 - Method and Appartus for Alig                 Unknown                            0.00                                        0.00                    FA
27       Patent 8,043,652 - Method and Appartus for Align                 Unknown                            0.00                                        0.00                    FA

28       Patent 7,034,854 - Methods and Apparatus for Ink                 Unknown                            0.00                                        0.00                    FA

29       Patent 7,762,638 - Methods and Apparatus for Ink                 Unknown                            0.00                                        0.00                    FA

30       Patent US 2010/0242765 A1 - Methods and Apparatu                 Unknown                            0.00                                        0.00                    FA

31       Patent 61/659XXX - Method and Apparatus for Inte                 Unknown                            0.00                                        0.00                    FA

32       Patent 8,017,191 - Fast Dip for Reduced Wicking                  Unknown                            0.00                                        0.00                    FA

33       Patent 7,524,534 - MethodsUtilizing Scanning Pro                 Unknown                            0.00                                        0.00                    FA

34       Patent US 2011/0014436 A1 - Methods for Forming                  Unknown                            0.00                                        0.00                    FA

35       Patent WO 2011/008781 A1 - Methods for Forming H                 Unknown                            0.00                                        0.00                    FA

36       Patent EP 107346XXX - Methods for Forming Hydoge                 Unknown                            0.00                                        0.00                    FA

37       Patent JP 2012-520XXX - Methods for Forming Hydo                 Unknown                            0.00                                        0.00                    FA

38       Patent KR 10-2012-7003XXX - Methods for Forming                  Unknown                            0.00                                        0.00                    FA


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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
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Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
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                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

39       Patent CA 2768XXX - Methods for Forming Hydogels             Unknown                          0.00                                        0.00                    FA

40       Patent AU 2010273XXX - Methods for Forming Hydog             Unknown                          0.00                                        0.00                    FA

41       Patent US 2010/0221505 A1 - Large Area, Homogene             Unknown                          0.00                                        0.00                  0.00

42       Patent WO 2010/085769 A1 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00

43       Patent EP EP2389614 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

44       Patent JP 2011-548XXX - Large Area, Homogeneous              Unknown                          0.00                                        0.00                  0.00

45       Patent KR 10-2011-124214 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00
46       Patent CA - Large Area, Homogeneous Array Fabric             Unknown                          0.00                                        0.00                  0.00

47       Patent AU 10206594A1 - Large Area, Homogeneous A             Unknown                          0.00                                        0.00                  0.00

48       Patent SG 0172852A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

49       Patent WO 2011088379 A1 - Patterned Surfaces and             Unknown                          0.00                                        0.00                  0.00

50       Patent 13/522XXX - Material and Methods for Cell             Unknown                          0.00                                        0.00                  0.00

51       Patent US 20120135876A1 - High-Throughput Assay              Unknown                          0.00                                        0.00                  0.00

52       Patent WO2012061308A1 - High-Throughput Assay Me             Unknown                          0.00                                        0.00                  0.00

53       Patent TW 100139XXX - High-Throughput Assay Meth             Unknown                          0.00                                        0.00                  0.00

54       Patent US 2012-0108461 - High-Throughput Slide P             Unknown                          0.00                                        0.00                  0.00

55       Patent WO2012061314A1 - High-Throughput Slide Pr             Unknown                          0.00                                        0.00                  0.00

56       Patent TW 100139XXX - High-Throughput Slide Proc             Unknown                          0.00                                        0.00                  0.00

57       Patent US 2011/0277193 - Sensors and Biosensors              Unknown                          0.00                                        0.00                  0.00


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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

58       Patent WO 2011/133663A1 - Sensors and Biosensors                 Unknown                          0.00                                        0.00                  0.00

59       Patent TW 100113XXX - Sensors and Biosensors - F                 Unknown                          0.00                                        0.00                  0.00

60       Patent EP - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00

61       Patent JP - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00

62       Patent KR - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00

63       Patent CA - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00

64       Patent AU - Sensors and Biosensors - Filed, Apri                 Unknown                          0.00                                        0.00                  0.00
65       Patent US 2012/0088694 - Single Live Cell Assay                  Unknown                          0.00                                        0.00                  0.00

66       Patent WO 2012/047808- Single Live Cell Assay -                  Unknown                          0.00                                        0.00                  0.00

67       Patent US 2012/0309647 - Patterning and Cellular                 Unknown                          0.00                                        0.00                  0.00

68       Patent WO 2012/166794 - Patterning and Cellular                  Unknown                          0.00                                        0.00                  0.00

69       Patent 13/624,XXX - Accurate Quantitation of Bio                 Unknown                          0.00                                        0.00                  0.00

70       Patent PCT/US12/56XXX - Accurate Quantitation of                 Unknown                          0.00                                        0.00                  0.00

71       Patent TW 101134XXX - Accurate Quantitation of B                 Unknown                          0.00                                        0.00                  0.00

72       Patent 61/724,XXX - On Chip Enzyme Activity Assa                 Unknown                          0.00                                        0.00                  0.00

73       Patent 7,005,378 - Process for Fabricating Condu                 Unknown                          0.00                                        0.00                  0.00

74       Patent WO 05 038529 A3 - Process for Fabricating                 Unknown                          0.00                                        0.00                  0.00

75       Patent KR XX-XXXXXXX - Process for Fabricating C                 Unknown                          0.00                                        0.00                  0.00

76       Patent EP 1665360 A2 - Process for Fabricating C                 Unknown                          0.00                                        0.00                  0.00


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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

77       Patent JP 4740850 - Process for Fabricating Cond             Unknown                          0.00                                        0.00                  0.00

78       Patent CN ZL 8003167.4- Process for Fabricating              Unknown                          0.00                                        0.00                  0.00

79       Patent CA 2537023 - Process for Fabricating Cond             Unknown                          0.00                                        0.00                  0.00

80       Patent HK 1097954 - Process for Fabricating Cond             Unknown                          0.00                                        0.00                  0.00

81       Patent US 2009/0181172 A1 - Dip-Pen Nanolithogra             Unknown                          0.00                                        0.00                  0.00

82       Patent WO 2009/052120 A1- Lithography of Nanopar             Unknown                          0.00                                        0.00                  0.00

83       Patent TW 200934833 - Lithography of Nanoparticl             Unknown                          0.00                                        0.00                  0.00
84       Patent EP 08839215.4- Lithography of Nanoparticl             Unknown                          0.00                                        0.00                  0.00

85       Patent JP 2011-502183- Lithography of Nanopartic             Unknown                          0.00                                        0.00                  0.00

86       Patent KR 10-2010-700XXX- Lithography of Nanopar             Unknown                          0.00                                        0.00                  0.00

87       Patent CA 2701XXX- Lithography of Nanoparticle I             Unknown                          0.00                                        0.00                  0.00

88       Patent AU 2008312XXX - Lithography of Nanopartic             Unknown                          0.00                                        0.00                  0.00

89       Patent US 2010/0288543 - Conducting Lines, Nanop             Unknown                          0.00                                        0.00                  0.00

90       Patent WO 2010/120809 - Conducting Lines, Nanopa             Unknown                          0.00                                        0.00                  0.00

91       Patent EP 2419793 - Conducting Lines, Nanopartic             Unknown                          0.00                                        0.00                  0.00

92       Patent JP 2012-506XXX - Conducting Lines, Nanopa             Unknown                          0.00                                        0.00                  0.00

93       Patent KR 10-2012-133322 - Conducting Lines, Nan             Unknown                          0.00                                        0.00                  0.00

94       Patent CA 2754XXX - Conducting Lines, Nanopartic             Unknown                          0.00                                        0.00                  0.00

95       Patent AU 2010236XXX - Conducting Lines, Nanopar             Unknown                          0.00                                        0.00                  0.00


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                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                                Claims Bar Date:            07/12/13

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                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

96       Patent 7,691,541 - Methods for additive repair o                  Unknown                          0.00                                        0.00                  0.00

97       Patent WO 2004/038504 A2 - Nanometer-scale engin                  Unknown                          0.00                                        0.00                  0.00

98       Patent KR XX-XXXXXXX - Nanometer-scale engineere                  Unknown                          0.00                                        0.00                  0.00

99       Patent 8,071,168 - Micrometric Direct-Write Meth                  Unknown                          0.00                                        0.00                  0.00

100      Patent WO 2005/084092A2 - Micrometric Direct-Wri                  Unknown                          0.00                                        0.00                  0.00

101      Patent TW 200604692 - Micrometric Direct-Write M                  Unknown                          0.00                                        0.00                  0.00

102      Patent KR XX-XXXXXXX - Micrometric Direct-Write                   Unknown                          0.00                                        0.00                  0.00
103      Patent CN 101002513 - Micrometric Direct-Write M                  Unknown                          0.00                                        0.00                  0.00

104      Patent JP 2007-500XXX - Micrometric Direct-Write                  Unknown                          0.00                                        0.00                  0.00

105      Patent EP 057237XX.X - Micrometric Direct-Write                   Unknown                          0.00                                        0.00                  0.00

106      Patent CA 2557472 - Micrometric Direct-Write Met                  Unknown                          0.00                                        0.00                  0.00

107      Patent HK 1110168A - Micrometric Direct-Write Me                  Unknown                          0.00                                        0.00                  0.00

108      Patent US 2012010034A1 - Micrometric Direct-Writ                  Unknown                          0.00                                        0.00                  0.00

109      Patent WO 2011/002806A1 - Advanced Photomask Rep                  Unknown                          0.00                                        0.00                  0.00

110      Patent US 20120164564 A1 - Advanced Photomask Re                  Unknown                          0.00                                        0.00                  0.00

111      Patent EP 2449427 - Advanced Photomask Repair -                   Unknown                          0.00                                        0.00                  0.00

112      Patent JP 2012-517XXX - Advanced Photomask Repai                  Unknown                          0.00                                        0.00                  0.00

113      Patent KR 10-2012-104966 - Advanced Photomask Re                  Unknown                          0.00                                        0.00                  0.00

114      Patent CA 2766XXX - Advanced Photomask Repair -                   Unknown                          0.00                                        0.00                  0.00


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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
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                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
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                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

115      Patent AU 2010266XXX - Advanced Photomask Repair                 Unknown                          0.00                                        0.00                  0.00

116      Patent 8,261,662 - Methods To Manufacture Enhanc                 Unknown                          0.00                                        0.00                  0.00

117      Patent 8,205,268 - Cantilever and Pivoting Actua                 Unknown                          0.00                                        0.00                  0.00

118      Patent WO 2009/070622 A2 - Cantilever and Pivoti                 Unknown                          0.00                                        0.00                  0.00

119      Patent EP 2227718A2 - Cantilever and Pivoting Ac                 Unknown                          0.00                                        0.00                  0.00

120      Patent JP 2011-505000 - Cantilever and Pivoting                  Unknown                          0.00                                        0.00                  0.00

121      Patent KR 2010101573 - Cantilever and Pivoting A                 Unknown                          0.00                                        0.00                  0.00
122      Patent CA 2705XXX - Cantilever and Pivoting Actu                 Unknown                          0.00                                        0.00                  0.00

123      Patent AU 8329813AA - Cantilever and Pivoting Ac                 Unknown                          0.00                                        0.00                  0.00

124      Patent 7,199,305 - Protosubstrates - Issued, Apr                 Unknown                          0.00                                        0.00                  0.00

125      Patent TW 1279392 - Protosubstrates - Issued, Ap                 Unknown                          0.00                                        0.00                  0.00

126      Patent 7,491,422 - Direct-Write Nanolithography                  Unknown                          0.00                                        0.00                  0.00

127      Patent 8,220,317 - Massively Parallel Lithograph                 Unknown                          0.00                                        0.00                  0.00

128      Patent WO 2007/126689 - Massively Parallel Litho                 Unknown                          0.00                                        0.00                  0.00

129      Patent TW 200804173 - Massively Parallel Lithogr                 Unknown                          0.00                                        0.00                  0.00

130      Patent 8,192,794 - Massively Parallel Lithograph                 Unknown                          0.00                                        0.00                  0.00

131      Patent EP 2013662 - Massively Parallel Lithograp                 Unknown                          0.00                                        0.00                  0.00

132      Patent JP 2009-50XXX - Massively Parallel Lithog                 Unknown                          0.00                                        0.00                  0.00

133      Patent SG 200807XXX - Massively Parallel Lithogr                 Unknown                          0.00                                        0.00                  0.00


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                                                        Individual Estate Property Record and Report
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                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
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                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

134      Patent US 2012/0297509 A1 - Massively Parallel L                 Unknown                          0.00                                        0.00                  0.00

135      Patent US 2008/0309688 - Nanolithigraphy With Us                 Unknown                          0.00                                        0.00                  0.00

136      Patent WO 2008/112713 A1 - Nanolithigraphy With                  Unknown                          0.00                                        0.00                  0.00

137      Patent TW 2008-43867 - Nanolithigraphy With Use                  Unknown                          0.00                                        0.00                  0.00

138      Patent EP 2130093A1 - Nanolithigraphy With Use o                 Unknown                          0.00                                        0.00                  0.00

139      Patent JP 2010-521325 - Nanolithigraphy With Use                 Unknown                          0.00                                        0.00                  0.00

140      Patent KR 10015321 - Nanolithigraphy With Use of                 Unknown                          0.00                                        0.00                  0.00
141      Patent CA 2678XXX - Nanolithigraphy With Use of                  Unknown                          0.00                                        0.00                  0.00

142      Patent AU 8225XXX - Nanolithigraphy With Use of                  Unknown                          0.00                                        0.00                  0.00

143      Patent 8,256,018 - Array and Cantilever Array Le                 Unknown                          0.00                                        0.00                  0.00

144      Patent WO/2009/099619 - Cantilever Array Levelin                 Unknown                          0.00                                        0.00                  0.00

145      Patent EP 2250533A2 - Array and Cantilever Array                 Unknown                          0.00                                        0.00                  0.00

146      Patent JP 2011-513945 - Cantilever Array Levelin                 Unknown                          0.00                                        0.00                  0.00

147      Patent KR 10-2010-121634 - Array and Cantilever                  Unknown                          0.00                                        0.00                  0.00

148      Patent CA 2714XXX - Array and Cantilever Array L                 Unknown                          0.00                                        0.00                  0.00

149      Patent AU 2009210XXX - Array and Cantilever Arra                 Unknown                          0.00                                        0.00                  0.00

150      Patent US 2009-0023607 A1 - Compact Nanofabricat                 Unknown                          0.00                                        0.00                  0.00

151      Patent WO 2008/141048 A1 - Compact Nanofabricati                 Unknown                          0.00                                        0.00                  0.00

152      Patent TW 200902438 - Compact Nanofabrication Ap                 Unknown                          0.00                                        0.00                  0.00


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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

153      Patent EP 2156246 A1 - Compact Nanofabrication A             Unknown                          0.00                                        0.00                  0.00

154      Patent JP 2010-527441 - Compact Nanofabrication              Unknown                          0.00                                        0.00                  0.00

155      Patent CA 2681XXX - Compact Nanofabrication Appa             Unknown                          0.00                                        0.00                  0.00

156      Patent AU 2008251XXX - Compact Nanofabrication A             Unknown                          0.00                                        0.00                  0.00

157      Patent US 2011/0195850 - Compact Nanofabrication             Unknown                          0.00                                        0.00                  0.00

158      Patent US 2010/0229264A1 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00

159      Patent WO 2010/085767 A1 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00
160      Patent EP 2389613A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

161      Patent JP 2012-515559 - Large Area, Homogeneous              Unknown                          0.00                                        0.00                  0.00

162      Patent KR 10-2011-119665 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00

163      Patent CA 2750XXX - Large Area, Homogeneous Arra             Unknown                          0.00                                        0.00                  0.00

164      Patent AU 10206592A1 - Large Area, Homogeneous A             Unknown                          0.00                                        0.00                  0.00

165      Patent SG 0172854A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

166      Patent 8,214,916 - Large Area, Homogeneous Array             Unknown                          0.00                                        0.00                  0.00

167      Patent US 2010/0227063 A1 - Large Area, Homogene             Unknown                          0.00                                        0.00                  0.00

168      Patent WO 2010/085770 A1 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00

169      Patent EP 2389615A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

170      Patent JP 2012-516064 - Large Area, Homogeneous              Unknown                          0.00                                        0.00                  0.00

171      Patent KR 10-2011-119666 - Large Area, Homogeneo             Unknown                          0.00                                        0.00                  0.00


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                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

172      Patent CA 27504XXX - Large Area, Homogeneous Arr             Unknown                          0.00                                        0.00                  0.00

173      Patent AU 10206595A1 - Large Area, Homogeneous A             Unknown                          0.00                                        0.00                  0.00

174      Patent SG 0172853A1 - Large Area, Homogeneous Ar             Unknown                          0.00                                        0.00                  0.00

175      Patent US 2010/0256824 A1 - Environmental Contro             Unknown                          0.00                                        0.00                  0.00

176      Patent WO 2010/102231 A1 - Environmental Control             Unknown                          0.00                                        0.00                  0.00

177      Patent EP 107077XXX - Environmental Control Devi             Unknown                          0.00                                        0.00                  0.00

178      Patent JP 2012-519825 - Environmental Control De             Unknown                          0.00                                        0.00                  0.00
179      Patent KR 10-2011-135392 - Environmental Control             Unknown                          0.00                                        0.00                  0.00

180      Patent CA 2753XXX - Environmental Control Device             Unknown                          0.00                                        0.00                  0.00

181      Patent AU 2010221XXX - Environmental Control Dev             Unknown                          0.00                                        0.00                  0.00

182      Patent 8,261,368 - Nanomanufacturing Devices and             Unknown                          0.00                                        0.00                  0.00

183      Patent US 2010/0100989 A1 - Piezoresistor Height             Unknown                          0.00                                        0.00                  0.00

184      Patent WO2009/140441A2 - Piezoresistor Height Se             Unknown                          0.00                                        0.00                  0.00

185      Patent EP 2291849 A2 - Piezoresistor Height Sens             Unknown                          0.00                                        0.00                  0.00

186      Patent JP 2011-523047 - Piezoresistor Height Sen             Unknown                          0.00                                        0.00                  0.00

187      Patent US 2010/0147820 A1 - Heated Cantilever -              Unknown                          0.00                                        0.00                  0.00

188      Patent US 2010/0235954 A1 - Dual-Tip Cantilever              Unknown                          0.00                                        0.00                  0.00

189      Patent US 2011/0014378 A1 - Leveling Devices and             Unknown                          0.00                                        0.00                  0.00

190      Patent WO 2011/009094A2 - Leveling Devices and M             Unknown                          0.00                                        0.00                  0.00


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                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
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                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

191      Patent DE 20 2010 013706.3 - Leveling Devices an                 Unknown                          0.00                                        0.00                  0.00

192      Patent EP 2454635 - Leveling Devices and Methods                 Unknown                          0.00                                        0.00                  0.00

193      Patent JP 2012-520XXX- Leveling Devices and Meth                 Unknown                          0.00                                        0.00                  0.00

194      Patent KR 10-2012-7000XXX- Leveling Devices and                  Unknown                          0.00                                        0.00                  0.00

195      Patent CA 2763XXX- Leveling Devices and Methods                  Unknown                          0.00                                        0.00                  0.00

196      Patent AU 2010274XXX- Leveling Devices and Metho                 Unknown                          0.00                                        0.00                  0.00

197      Patent US 2011/0268883 - Force-Curve Analysis Me                 Unknown                          0.00                                        0.00                  0.00
198      Patent WO 2011/136848 - Force-Curve Analysis Met                 Unknown                          0.00                                        0.00                  0.00

199      Patent TW 201209707 - Force-Curve Analysis Metho                 Unknown                          0.00                                        0.00                  0.00

200      Patent EP - Force-Curve Analysis Method for Plan                 Unknown                          0.00                                        0.00                  0.00

201      Patent JP - Force-Curve Analysis Method for Plan                 Unknown                          0.00                                        0.00                  0.00

202      Patent KR10-2012-7030XXX - Force-Curve Analysis                  Unknown                          0.00                                        0.00                  0.00

203      Patent CA - Force-Curve Analysis Method for Plan                 Unknown                          0.00                                        0.00                  0.00

204      Patent AU - Force-Curve Analysis Method for Plan                 Unknown                          0.00                                        0.00                  0.00

205      Patent US 2011-026882 - Ball-Spacer Method for P                 Unknown                          0.00                                        0.00                  0.00

206      Patent WO 2011/139337 - Ball-Spacer Method for P                 Unknown                          0.00                                        0.00                  0.00

207      Patent TW 201200877 - Ball-Spacer Method for Pla                 Unknown                          0.00                                        0.00                  0.00

208      Patent EP - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00

209      Patent JP - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00


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                                                           Individual Estate Property Record and Report
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                                                                                            §341(a) Meeting Date:       05/29/13
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                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
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Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

210      Patent KR - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00

211      Patent CA - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00

212      Patent AU - Ball-Spacer Method for Planar Object                 Unknown                          0.00                                        0.00                  0.00

213      Patent US 2011/0274839 - Improved Cantilevers fo                 Unknown                          0.00                                        0.00                  0.00

214      Patent WO 2011130446 - Improved Cantilevers for                  Unknown                          0.00                                        0.00                  0.00

215      Patent TW 201200363 - Improved Cantilevers for D                 Unknown                          0.00                                        0.00                  0.00

216      Patent EP - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00
217      Patent JP - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

218      Patent KR - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

219      Patent CN - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

220      Patent HK - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

221      Patent SG - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

222      Patent CA - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

223      Patent AU - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

224      Patent IL - Improved Cantilevers for Deposition                  Unknown                          0.00                                        0.00                  0.00

225      Patent US 2012/0295030 - High-Performance, High-                 Unknown                          0.00                                        0.00                  0.00

226      Patent WO 2012/158838 - High-Performance, High-D                 Unknown                          0.00                                        0.00                  0.00

227      Patent TW 201250845 - High-Performance, High-Den                 Unknown                          0.00                                        0.00                  0.00

228      Patent 61/619XXX - Methods for Fabricating High                  Unknown                          0.00                                        0.00                  0.00


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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
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                                                                                          §341(a) Meeting Date:       05/29/13
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                       Asset Description                              Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
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                                                                       Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                     and Other Costs)                                                  Remaining Assets

229      Patent 61/550XXX - Octahedral and Pyramid-On_Pos               Unknown                          0.00                                        0.00                  0.00

230      Patent PCT/US2012/063XXX - Method and Apparatus                Unknown                          0.00                                        0.00                  0.00

231      Patent 8,235,302 - Identification Features - Iss               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


232      Patent US 2010/0297190 - Identification Features               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3057. "


233      Patent US 2010/0294927 - High-Throughput Inspect               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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234      Patent US 2010/0294147 - Apparatus and Methods                 Unknown                          0.00                                        0.00                    FA
          for Preparing Identification Features on Pharmaceutical

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                                                       Individual Estate Property Record and Report
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Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
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                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         Compositions - Published, November 2010

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235      Patent US 2010/0297027 - Overt Authentication                Unknown                          0.00                                        0.00                    FA
           Features for Pharmaceutical Compositions and Objects
         and Methods of Fabrication and Verification Thereof -
         Published, November 2010

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         DOCKET NUMBER 215 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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236      Patent 8,069,782 - Stamps with Micrometer and                Unknown                          0.00                                        0.00                    FA
          Nanometer Scale Features and Methods of Fabrication
         Thereof - Issued, Deccember 2011

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237      Patent US 2012/0052415 - Stamps with Micrometer                 Unknown                          0.00                                        0.00                    FA

238      Patent US 2010-0297228 A1 - Universal Coating                   Unknown                          0.00                                        0.00                    FA
          for Imprinting Identification Features - Published,
         November 2010

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239      Patent US 2011/0014131 A1 - Nano Molding Micron                 Unknown                          0.00                                        0.00                    FA
           and Nano Scale Features on Capsules for Brand
         Protection - Published, January 2011

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240      Patent WO 2011/011333 A2 - Nano Molding Micron                  Unknown                          0.00                                        0.00                    FA


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           and Nano Scale Features on Capsules for Brand
         Protection - Published, January 2011

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241      Patent US 2011/0182467 - Moire Pattern Generated                 Unknown                          0.00                                        0.00                  0.00

242      Patent WO 2011/094221 A2 - Moire Pattern                         Unknown                          0.00                                        0.00                    FA
          Generated by Angular Illumination of Surfaces -
         Published, August 2011

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243      Patent EP 2528592 - Moire Pattern Generated by                   Unknown                          0.00                                        0.00                    FA
           Angular Illumination of Surfaces - Published,
         December 2012

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244      Patent JP 2012-550XXX - Moire Pattern Generated                 Unknown                          0.00                                        0.00                    FA
           by Angular Illumination of Surfaces - Filed, January
         2011

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245      Patent US 2012/0104660 A1 - Injection Molding of                Unknown                          0.00                                        0.00                    FA
           Micron and Nano Scale Features for Pharmaceutical
         Brand Protection - Published, May 2012

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246      Patent WO 2012/058565 A2 - Injection Molding of                 Unknown                          0.00                                        0.00                    FA
          Micron and Nano Scale Features for Pharmaceutical

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         Brand Protection - Published, May 2012;

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247      Patent 13/462XXX - Molding of Micron and                     Unknown                          0.00                                        0.00                    FA
          Nanoscale Features - Filed, May 2012

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248      Patent PCT/US12/36XXX - Molding of Micron and                Unknown                          0.00                                        0.00                    FA
          Nanoscale Features - Filed, May 2012

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         NUMBER 3057. "



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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:        13-14126 ERW                                                         Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                        Filed (f) or Converted (c): 04/04/13 (f)
                                                                                         §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                             Claims Bar Date:            07/12/13

                               1                                        2                       3                          4                   5                     6

                       Asset Description                             Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)               Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

249      NANOENCRYTION Reg. No. 1,080,060 (class 41), Iss              Unknown                          0.00                                        0.00                  0.00

250      DIP PEN NANOLITHOGRAPHY Reg. No. 3104268,                     Unknown                          0.00                                        0.00                  0.00
         Issued

251      DPN Reg. No. 2998572, Issued 9/20/05                          Unknown                          0.00                                        0.00                  0.00

252      Reg. No. 3002309, Issued 9/27/05                              Unknown                          0.00                                        0.00                  0.00

253      NANOINK Reg. No. 3004683, Issued 10/4/05                      Unknown                          0.00                                        0.00                  0.00

254      nanolink, Reg. No. 3004682, Issued                            Unknown                          0.00                                        0.00                  0.00

255      NANOPROFESSOR Reg. No. 3,955,700 Issued 5/3/11                Unknown                          0.00                                        0.00                  0.00

256      NANOGUARDIAN Reg. No. 4,218,052 Issued 10/2/12                Unknown                          0.00                                        0.00                  0.00

257      NANOENCRYPTION App. No. 77/367984 Filed 1/9/08                Unknown                          0.00                                        0.00                  0.00

258      NANOGUARDIAN App. No. 77/539548 Filed 8/5/08                  Unknown                          0.00                                        0.00                  0.00

259      NANOSTEM App. No. 77/698465 Filed 3/25/09                     Unknown                          0.00                                        0.00                  0.00

260      NANOPROFESSOR App. No. 830723170 Filed 8/13/10                Unknown                          0.00                                        0.00                  0.00

261      NANOPROFESSOR Reg. No. 827,302 Issued 6/29/12                 Unknown                          0.00                                        0.00                  0.00

262      NANOENCRYPTION App. No. 1402106 Filed 7/4/08                  Unknown                          0.00                                        0.00                  0.00

263      nanoprofessor App. No. 8620434 filed 8/30/10                  Unknown                          0.00                                        0.00                  0.00

264      nanoprofessor App. No. 10.112374 Issued 2/11/11               Unknown                          0.00                                        0.00                  0.00

265      DPN Reg. No. 002839025 Issued 9/24/04                         Unknown                          0.00                                        0.00                  0.00

266      NANOINK Reg. No. 002839058 Issued 5/26/04                     Unknown                          0.00                                        0.00                  0.00



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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

267      NANOGUARDIAN Reg. No. 7583602 issued 10/7/09                 Unknown                          0.00                                        0.00                  0.00

268      NANOINK App. No. 246423 Filed 5/10/12                        Unknown                          0.00                                        0.00                  0.00

269      DPN Reg. No. 4832485 Issued 1/14/05                          Unknown                          0.00                                        0.00                  0.00

270      NANOINK Reg. No. 4796349 issued 8/20/04                      Unknown                          0.00                                        0.00                  0.00

271      NANOENCRYPTION Reg. No. 5211522 issued 3/6/09                Unknown                          0.00                                        0.00                  0.00

272      NANOGUARDIAN Reg. No. 5292422 Issued 1/8/10                  Unknown                          0.00                                        0.00                  0.00

273      NANOPROFESSOR Reg. No. 5373352 issued 12/3/10                Unknown                          0.00                                        0.00                  0.00
274      nanoprofessor Reg. No. 1,194,695 issued 12/15/10             Unknown                          0.00                                        0.00                  0.00

275      NANOPROFESSOR Reg. No. 2943208, Issued 1/13/11               Unknown                          0.00                                        0.00                  0.00

276      NANOGUARDIAN Reg. No. 590508, Issued 8/27/09                 Unknown                          0.00                                        0.00                  0.00

277      DPN Reg. No. 1104025, Issued 6/1/04                          Unknown                          0.00                                        0.00                  0.00

278      NANOINK in Class 01 Reg. No. 1073734, Issued 12/             Unknown                          0.00                                        0.00                  0.00

279      NANOINK in Class 09 Reg. No. 1108706, Issued 7/1             Unknown                          0.00                                        0.00                  0.00

280      NANOINK in Class 41 Reg. No. 192558, Issued 12/1             Unknown                          0.00                                        0.00                  0.00

281      NANOINK in Class 42 Reg. No. 1078657, Issued 12/             Unknown                          0.00                                        0.00                  0.00

282      NANOPROFESSOR Reg. No. 2555949, Issued 11/12/10              Unknown                          0.00                                        0.00                  0.00

283      NANOPROFESSOR App. No. 2010-013475, Issued 8/16/             Unknown                          0.00                                        0.00                  0.00

284      Software license for matrix Mil (2nd SEM #267)               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.

                                                                                                                                          Printed: 07/18/2015 04:10 PM   V.13.23
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




285      FRX Software licenses                                            Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




286      License No.: 6,635,311; Methods Utilizing Scanni                 Unknown                          0.00                                        0.00                  0.00

287      License No.: NI-150875 TW; Methods Utilizing Sca                 Unknown                          0.00                                        0.00                  0.00

288      License No.: AU 778568; Methods Utilizing Scanni                 Unknown                          0.00                                        0.00                  0.00

289      License No.: CA 2358215; Methods Utilizing Scann                 Unknown                          0.00                                        0.00                  0.00

290      License No.: ZL 803987.9; Methods Utilizing Scan                 Unknown                          0.00                                        0.00                  0.00

291      License No.: JP 3963650; Methods Utilizing Scann                 Unknown                          0.00                                        0.00                  0.00



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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

292      License No.: EP 1157407 B1; Methods Utilizing Sc             Unknown                          0.00                                        0.00                  0.00

293      License No.: CH 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

294      License No.: DE 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

295      License No.: ES 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

296      License No.: FR 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

297      License No.: UK 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

298      License No.: IT 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00
299      License No.: SE 1157407; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

300      License No.: HK 1041744B; Methods Utilizing Scan             Unknown                          0.00                                        0.00                  0.00

301      License No.: KR XX-XXXXXXX; Methods Utilizing Sc             Unknown                          0.00                                        0.00                  0.00

302      License No: ZL 200610138990; A Direct Write Nano             Unknown                          0.00                                        0.00                  0.00

303      License No: HK 1110298B; Methods Utilizing Scann             Unknown                          0.00                                        0.00                  0.00

304      License No: JP 3963650; Methods Utilizing Scanni             Unknown                          0.00                                        0.00                  0.00

305      License No: 8,247,032; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00

306      License No: 7,569,252; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00

307      License No: 8,163,345; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00

308      License No: US 2012/0295029; Methods Utilizing S             Unknown                          0.00                                        0.00                  0.00

309      License No: 6,827,979; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00

310      License No: TW 190487; Methods Utilizing Scannin             Unknown                          0.00                                        0.00                  0.00


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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                           §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                               Claims Bar Date:            07/12/13

                               1                                          2                       3                          4                   5                     6

                       Asset Description                               Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                        Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                      and Other Costs)                                                  Remaining Assets

311      License No: AU 165003; Methods Utilizing Scannin                Unknown                          0.00                                        0.00                  0.00

312      License No: CA 2411198; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

313      License No: ZL 0813256.1; Methods Utilizing Scan                Unknown                          0.00                                        0.00                  0.00

314      License No: EP 1292361 B1; Methods Utilizing Sca                Unknown                          0.00                                        0.00                  0.00

315      License No: DE 60132892.2; Methods Utilizing Sca                Unknown                          0.00                                        0.00                  0.00

316      License No: UK 1292361; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

317      License No: FR 1292361; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00
318      License No: IT 24303 BE/2008; Methods Utilizing                 Unknown                          0.00                                        0.00                  0.00

319      License No: ES 1292361; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

320      License No: CH 1292361; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

321      License No: HK 1054516 B; Methods Utilizing Scan                Unknown                          0.00                                        0.00                  0.00

322      License No: JP 5042432; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

323      License No: KR 0809785; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

324      License No: 7,446,324; Methods Utilizing Scannin                Unknown                          0.00                                        0.00                  0.00

325      License No: 8,187,673; Methods Utilizing Scannin                Unknown                          0.00                                        0.00                  0.00

326      License No: 13/451,XXX; Methods Utilizing Scanni                Unknown                          0.00                                        0.00                  0.00

327      License No: 7,722,928; Nanolithography Methods a                Unknown                          0.00                                        0.00                  0.00

328      License No: 7,744,963; Nanolithography Methods a                Unknown                          0.00                                        0.00                  0.00

329      License No: 7,291,284; Fabrication of sub-50 NM                 Unknown                          0.00                                        0.00                  0.00


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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

330      License No: 8,057,857; Phase Separation in Patte                 Unknown                          0.00                                        0.00                  0.00

331      License No.: US 2006/0242740 A1; Method and Devi                 Unknown                          0.00                                        0.00                  0.00

332      License No.: 8,084,273; Universal Matrix; Issued                 Unknown                          0.00                                        0.00                  0.00

333      License No.: WO 2009/035739 A2; Universal Matrix                 Unknown                          0.00                                        0.00                  0.00

334      License No.: EP 2170501 A2; Universal Matrix; Pu                 Unknown                          0.00                                        0.00                  0.00

335      License No.: JP 2010-530247; Universal Matrix; P                 Unknown                          0.00                                        0.00                  0.00

336      License No.: KR 10047843A; Universal Matrix; Pub                 Unknown                          0.00                                        0.00                  0.00
337      License No.: CA 2691XXX; Universal Matrix; Filed                 Unknown                          0.00                                        0.00                  0.00

338      License No.: AU 2008299XXX; Universal Matrix; Fi                 Unknown                          0.00                                        0.00                  0.00

339      License No.: SG 157617; Universal Matrix; Issued                 Unknown                          0.00                                        0.00                  0.00

340      License No.: US 2012/0164396; Matrix Assisted In                 Unknown                          0.00                                        0.00                  0.00

341      License No.: WO 2008/157550 A2; Matrix Assisted                  Unknown                          0.00                                        0.00                  0.00

342      License No.: EP 2175983 A2; Matrix Assisted Ink                  Unknown                          0.00                                        0.00                  0.00

343      License No.: JP 2010-532267; Matrix Assisted Ink                 Unknown                          0.00                                        0.00                  0.00

344      License No.: KR10-2010-7001XXX; Matrix Assisted                  Unknown                          0.00                                        0.00                  0.00

345      License No.: CA 2690823 AA; Matrix Assisted Ink                  Unknown                          0.00                                        0.00                  0.00

346      License No.: AU 2008265818; Matrix Assisted Ink                  Unknown                          0.00                                        0.00                  0.00

347      ense No.: SG 20090819XXX; Matrix Assisted Ink Tr                 Unknown                          0.00                                        0.00                  0.00

348      License No.: 8,318,508; Patterning with Composit                 Unknown                          0.00                                        0.00                  0.00


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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

349      License No.: WO 2008/156732 A2; Patterning with              Unknown                          0.00                                        0.00                  0.00

350      License No.: EP 2173475A2; Patterning with Compo             Unknown                          0.00                                        0.00                  0.00

351      License No.: JP 2010-531977; Patterning with Com             Unknown                          0.00                                        0.00                  0.00

352      License No.: KR 10-2010-40293; Patterning with C             Unknown                          0.00                                        0.00                  0.00

353      License No.: AU 2008266XXX; Patterning with Comp             Unknown                          0.00                                        0.00                  0.00

354      License No.: CA 2690XXX; Patterning with Composi             Unknown                          0.00                                        0.00                  0.00

355      License No.: SG 157619; Patterning with Composit             Unknown                          0.00                                        0.00                  0.00
356      License No.: 7,541,062; Thermal Control of Depos             Unknown                          0.00                                        0.00                  0.00

357      License No.: WO 2006 036217 A2; Thermal Control              Unknown                          0.00                                        0.00                  0.00

358      License No.: CN 2005800341XXX; Thermal Control o             Unknown                          0.00                                        0.00                  0.00

359      License No.: JP 2007527XXX; Thermal Control of D             Unknown                          0.00                                        0.00                  0.00

360      License No.: KR 1020077005XXX; Thermal Control o             Unknown                          0.00                                        0.00                  0.00

361      License No.: EP 1850972 B1; Thermal Control of D             Unknown                          0.00                                        0.00                  0.00

362      License No.: US 2009/0255465 A1; Thermal Control             Unknown                          0.00                                        0.00                  0.00

363      License No.: US 2011/0053805; Thermochemical Nan             Unknown                          0.00                                        0.00                  0.00

364      License No.: WO 2010/138965; Thermochemical Nano             Unknown                          0.00                                        0.00                  0.00

365      License No.: EP 1078138XXX; Thermochemical Nanol             Unknown                          0.00                                        0.00                  0.00

366      License No.: JP 2012-513XXX; Thermochemical Nano             Unknown                          0.00                                        0.00                  0.00

367      License No.: KR 10-2011-7031XXX; Thermochemical              Unknown                          0.00                                        0.00                  0.00


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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

368      License No.: CA 2761XXX; Thermochemical Nanolith                 Unknown                          0.00                                        0.00                  0.00

369      License No.: AU 2010253XXX; Thermochemical Nanol                 Unknown                          0.00                                        0.00                  0.00

370      License No.: 5,221,415; Method of forming microf                 Unknown                          0.00                                        0.00                  0.00

371      License No.: 5,399,232; Microfabricated cantilev                 Unknown                          0.00                                        0.00                  0.00

372      License No.: 5,580,827; Casting sharpened microm                 Unknown                          0.00                                        0.00                  0.00

373      License No.: 7,887,885; Nanolithography Methods                  Unknown                          0.00                                        0.00                  0.00

374      License No.: WO 2009/132321 A1; Polymer Pen Lith                 Unknown                          0.00                                        0.00                  0.00
375      License No.: US 2011-0132220 A1; Polymer Pen Lit                 Unknown                          0.00                                        0.00                  0.00

376      License No.: JP 2011/506XXX; Polymer Pen Lithogr                 Unknown                          0.00                                        0.00                  0.00

377      License No.: KR 10-2011-0014606; Polymer Pen Lit                 Unknown                          0.00                                        0.00                  0.00

378      License No.: CN 2009801186XXX; Polymer Pen Litho                 Unknown                          0.00                                        0.00                  0.00

379      License No.: HK 111110XXX; Polymer Pen Lithograp                 Unknown                          0.00                                        0.00                  0.00

380      License No.: WO 2010/096591; Gel Pen Lithography                 Unknown                          0.00                                        0.00                  0.00

381      License No.: US 2012/0128882; Gel Pen Lithograph                 Unknown                          0.00                                        0.00                  0.00

382      License No.: EP 107443XXX; el Pen Lithography; F                 Unknown                          0.00                                        0.00                  0.00

383      License No.: JP 2011-551XXX; Gel Pen Lithography                 Unknown                          0.00                                        0.00                  0.00

384      License No.: KR 10-2011-0129397; Gel Pen Lithogr                 Unknown                          0.00                                        0.00                  0.00

385      License No.: CA 2752XXX; Gel Pen Lithography; Fi                 Unknown                          0.00                                        0.00                  0.00

386      License No.: AU 10215962; Gel Pen Lithography; P                 Unknown                          0.00                                        0.00                  0.00


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                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

387      License No.: WO 2010/141836; Massively Parallel                  Unknown                          0.00                                        0.00                  0.00

388      License No.: US 20120167262; Massively Parallel                  Unknown                          0.00                                        0.00                  0.00

389      License No.: EP 2438608; Massively Parallel Sili                 Unknown                          0.00                                        0.00                  0.00

390      License No.: JP; Massively Parallel Silicon Pen                  Unknown                          0.00                                        0.00                  0.00

391      License No.: KR 10-2012-700XXX; Massively Parall                 Unknown                          0.00                                        0.00                  0.00

392      License No.: CA; Massively Parallel Silicon Pen                  Unknown                          0.00                                        0.00                  0.00

393      License No.: AU 10256436A1; Massively Parallel S                 Unknown                          0.00                                        0.00                  0.00
394      License No.: US 2003/0068446 A1; Protein and Pep                 Unknown                          0.00                                        0.00                  0.00

395      License No.: TW I272386; Protein and Peptide Nan                 Unknown                          0.00                                        0.00                  0.00

396      License No.: JP 4570363; Protein and Peptide Nan                 Unknown                          0.00                                        0.00                  0.00

397      License No.: CA 2462833; Protein and Peptide Nan                 Unknown                          0.00                                        0.00                  0.00

398      License No.: EP 1461605 A2; Protein and Peptide                  Unknown                          0.00                                        0.00                  0.00

399      License No.: US 2008/0242559 A1; Protein and Pep                 Unknown                          0.00                                        0.00                  0.00

400      License No.: 7,361,310; Direct Write Nanolithogr                 Unknown                          0.00                                        0.00                  0.00

401      License No.: TW I311155; Patterning of Nucleic A                 Unknown                          0.00                                        0.00                  0.00

402      License No.: KR XX-XXXXXXX; Direct Write Nanolit                 Unknown                          0.00                                        0.00                  0.00

403      License No.: JP 4598395; Direct Write Nanolithog                 Unknown                          0.00                                        0.00                  0.00

404      License No.: CA 2468743; Direct Write Nanolithog                 Unknown                          0.00                                        0.00                  0.00

405      License No.: EP 1461596 A2; Direct Write Nanolit                 Unknown                          0.00                                        0.00                  0.00


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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

406      License No.: 7,951,334; Direct Write Nanolithogr                 Unknown                          0.00                                        0.00                  0.00

407      License No.: 13/093XXX; Direct Write Nanolithogr                 Unknown                          0.00                                        0.00                  0.00

408      License No.: 7,842,344; Peptide and Protein Arra                 Unknown                          0.00                                        0.00                  0.00

409      License No.: 7,569,340; Nanoarray of Single Viru                 Unknown                          0.00                                        0.00                  0.00

410      License No.: WO 2008/020851 A2; Nanoarray of Sin                 Unknown                          0.00                                        0.00                  0.00

411      License No.: EP 1931989 B1; Nanoarray of Single                  Unknown                          0.00                                        0.00                  0.00

412      License No.: DE 602006020747; Nanoarray of Singl                 Unknown                          0.00                                        0.00                  0.00
413      License No.: UK 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

414      License No.: FR 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

415      License No.: IT 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

416      License No.: ES 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

417      License No.: CH 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

418      License No.: SE 1931989; Nanoarray of Single Vir                 Unknown                          0.00                                        0.00                  0.00

419      License No.: KR 20080046690; Nanoarray of Single                 Unknown                          0.00                                        0.00                  0.00

420      License No.: US 2010-0040661; Materials and Meth                 Unknown                          0.00                                        0.00                  0.00

421      License No.: WO 2010/007524 A2; Materials and Me                 Unknown                          0.00                                        0.00                  0.00

422      License No.: TW 201014914; Materials and Methods                 Unknown                          0.00                                        0.00                  0.00

423      License No.: EP 097861XXX; Materials and Methods                 Unknown                          0.00                                        0.00                  0.00

424      License No.: EP 097861XXX; Materials and Methods                 Unknown                          0.00                                        0.00                  0.00


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                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                                Claims Bar Date:            07/12/13

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                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

425      License No.: CN; Materials and Methods for Cell                   Unknown                          0.00                                        0.00                  0.00

426      License No.: WO2010124210A2; Multiplexed Biomole                  Unknown                          0.00                                        0.00                  0.00

427      License No.: US 20120097058A1; Multiplexed Biomo                  Unknown                          0.00                                        0.00                  0.00

428      License No.: EP 2422197; Multiplexed Biomolecule                  Unknown                          0.00                                        0.00                  0.00

429      License No.: JP 2012-524909; Multiplexed Biomole                  Unknown                          0.00                                        0.00                  0.00

430      License No.: KR 10-2011-702XXX; Multiplexed Biom                  Unknown                          0.00                                        0.00                  0.00

431      License No.: CA 2758XXX; Multiplexed Biomolecule                  Unknown                          0.00                                        0.00                  0.00
432      License No.: AU 2010238XXX; Multiplexed Biomolec                  Unknown                          0.00                                        0.00                  0.00

433      License No.: WO 2012/125986; Method of Analyzing                  Unknown                          0.00                                        0.00                  0.00

434      License No.: PCT/US12/57XXX; Single-Molecule Pro                  Unknown                          0.00                                        0.00                  0.00

435      License No.: 7,102,656; Electrostatically Driven                  Unknown                          0.00                                        0.00                  0.00

436      License No.: WO 2004/031072A2; Electrostatically                  Unknown                          0.00                                        0.00                  0.00

437      License No.: JP 4907084; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

438      License No.: EP 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

439      License No.: DE 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

440      License No.: UK 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

441      License No.: ES 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

442      License No.: FR 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00

443      License No.: CH 1509816; Electrostatically Drive                  Unknown                          0.00                                        0.00                  0.00


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                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                                Claims Bar Date:            07/12/13

                                1                                           2                       3                          4                   5                     6

                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

444      License No.: 7,223,438; Patterning Magnetic Nano                  Unknown                          0.00                                        0.00                  0.00

445      License No.: 7,273,636; Patterning of Solid Stat                  Unknown                          0.00                                        0.00                  0.00

446      License No.: TW I287170; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

447      License No.: WO 2003/052514 A2; Patterning of So                  Unknown                          0.00                                        0.00                  0.00

448      License No.: CN ZL02827280.3; Patterning of Soli                  Unknown                          0.00                                        0.00                  0.00

449      License No.: KR XX-XXXXXXX; Patterning of Solid                   Unknown                          0.00                                        0.00                  0.00

450      License No.: JP 4999913; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00
451      License No.: CA 2470823; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

452      License No.: EP 1502154B1; Patterning of Solid S                  Unknown                          0.00                                        0.00                  0.00

453      License No.: UK 1502154; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

454      License No.: DE 1502154; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

455      License No.: FR 1502154; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

456      License No.: AU 2364001BB; Patterning of Solid S                  Unknown                          0.00                                        0.00                  0.00

457      License No.: 7,811,635; Patterning of Solid Stat                  Unknown                          0.00                                        0.00                  0.00

458      License No.: JP 4999913; Patterning of Solid Sta                  Unknown                          0.00                                        0.00                  0.00

459      License No.: US 2011/0081526; Patterning of Soli                  Unknown                          0.00                                        0.00                  0.00

460      License No.: 7,959,974; Nanotube Assembly; Issue                  Unknown                          0.00                                        0.00                  0.00

461      License No.: WO 2008/048305A2; Carbon Nanotube;                   Unknown                          0.00                                        0.00                  0.00

462      License No.: EP 1968752; Carbon Nanotube; Publis                  Unknown                          0.00                                        0.00                  0.00


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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                               Claims Bar Date:            07/12/13

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                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

463      License No.: JP 2009518261; Nanotube Assembly; P                 Unknown                          0.00                                        0.00                  0.00

464      License No.: KR 8078867 A; Carbon Nanotube; Publ                 Unknown                          0.00                                        0.00                  0.00

465      License No.: 8,080,314; Nanotube Assembly; Issue                 Unknown                          0.00                                        0.00                  0.00

466      License No.: US 2011-0165341; Guided Assembly of                 Unknown                          0.00                                        0.00                  0.00

467      License No.: WO 2011/068960; Block Copolymer-Ass                 Unknown                          0.00                                        0.00                  0.00

468      License No.: EPO 108128XXX; Block Copolymer-Assi                 Unknown                          0.00                                        0.00                  0.00

469      License No.: JP; Block Copolymer-Assisted Nanoli                 Unknown                          0.00                                        0.00                  0.00
470      License No.: KR10-2012-7016XXX; Block Copolymer-                 Unknown                          0.00                                        0.00                  0.00

471      License No.: AU 2010325XXX; Block Copolymer-Assi                 Unknown                          0.00                                        0.00                  0.00

472      License No.: CA 2780XXX; Block Copolymer-Assiste                 Unknown                          0.00                                        0.00                  0.00

473      License No.: SG 2012036XXX; Block Copolymer-Assi                 Unknown                          0.00                                        0.00                  0.00

474      License No.: 7,326,380; Surface and Site-Specifi                 Unknown                          0.00                                        0.00                  0.00

475      License No.: WO 2005/048283 A2; Surface and Site                 Unknown                          0.00                                        0.00                  0.00

476      License No.: EP 1855861 A2; Surface and Site-Spe                 Unknown                          0.00                                        0.00                  0.00

477      License No.: 8,012,400; Surface and Site-Specifi                 Unknown                          0.00                                        0.00                  0.00

478      License No.: 8,192,795; DPN Generated Nanostruct                 Unknown                          0.00                                        0.00                  0.00

479      License No.: WO 2008/091279 A2; Etching and Hole                 Unknown                          0.00                                        0.00                  0.00

480      License No.: TW 200815278; DPN Generated Etching                 Unknown                          0.00                                        0.00                  0.00

481      License No.: EP 2 044 485 A2; Etching and Hole A                 Unknown                          0.00                                        0.00                  0.00


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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         13-14126 ERW                                                           Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                          Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                               Claims Bar Date:            07/12/13

                                1                                          2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

482      License No.: JP 2009-518XXX; Etching and Hole Ar                 Unknown                          0.00                                        0.00                  0.00

483      License No.: KR 20090049578; Etching and Hole Ar                 Unknown                          0.00                                        0.00                  0.00

484      License No.: CA 2654XXX; Etching and Hole Arrays                 Unknown                          0.00                                        0.00                  0.00

485      License No.: AU 7345315AA; Etching and Hole Arra                 Unknown                          0.00                                        0.00                  0.00

486      License No.: US 2012/0225251 A1; Etching and Hol                 Unknown                          0.00                                        0.00                  0.00

487      License No.: US 20120141731A1; Fabrication of Mi                 Unknown                          0.00                                        0.00                  0.00

488      License No.: WO/2008/121137; Fabrication of Micr                 Unknown                          0.00                                        0.00                  0.00
489      License No.: EP 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

490      License No.: DE 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

491      License No.: UK 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

492      License No.: FR 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

493      License No.: IT 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

494      License No.: ES 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

495      License No.: CH 2122417; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

496      License No.: JP 2009-542XXX; Fabrication of Micr                 Unknown                          0.00                                        0.00                  0.00

497      License No.: CA 2671289; Fabrication of Microstr                 Unknown                          0.00                                        0.00                  0.00

498      License No.: KR 9001943A; Fabrication of Microst                 Unknown                          0.00                                        0.00                  0.00

499      License No.: AU 7350336 AA; Fabrication of Micro                 Unknown                          0.00                                        0.00                  0.00

500      License No.: US 2010/0143666; Redox Activated Pa                 Unknown                          0.00                                        0.00                  0.00


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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                            §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                                Claims Bar Date:            07/12/13

                               1                                           2                       3                          4                   5                     6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

501      License No.: WO 2010/059985; Redox Activated Pat                 Unknown                          0.00                                        0.00                  0.00

502      License No.: US 2010/071098 A1; Scanning Probe E                 Unknown                          0.00                                        0.00                  0.00

503      License No.: US 2010/0115672 A1; Scanning Probe                  Unknown                          0.00                                        0.00                  0.00

504      License No.: WO 2011/071753l; Generation of Comb                 Unknown                          0.00                                        0.00                  0.00

505      License No.: 13/513XXX; Generation of Combinator                 Unknown                          0.00                                        0.00                  0.00

506      7,247,895; Electrostatic Nanolithography Probe A                 Unknown                          0.00                                        0.00                  0.00

507      TW 200805398; Electrostatic Nanolithography Prob                 Unknown                          0.00                                        0.00                  0.00
508      License No.: 7,954,166; Independently Addressabl                 Unknown                          0.00                                        0.00                  0.00

509      License No.: WO 2009/020658 A1; Independently Ad                 Unknown                          0.00                                        0.00                  0.00

510      License No.: EP2185975A1; Independently Addressa                 Unknown                          0.00                                        0.00                  0.00

511      License No.: JP 2010-536033; Independently Addre                 Unknown                          0.00                                        0.00                  0.00

512      License No.: KR10-2010-56453; Independently Addr                 Unknown                          0.00                                        0.00                  0.00

513      License No.: AU 2008284XXX; Independently Addres                 Unknown                          0.00                                        0.00                  0.00

514      License No.: CA 2690723; Independently Addressab                 Unknown                          0.00                                        0.00                  0.00

515      License No.: US 2010/0072565 A1; Soft Microelect                 Unknown                          0.00                                        0.00                  0.00

516      License No.: WO 2008/030284; Soft Microelectrome                 Unknown                          0.00                                        0.00                  0.00

517      License No.: EP 2029300; Soft Microelectromechan                 Unknown                          0.00                                        0.00                  0.00

518      License No.: KR 10-2009-0051009; Soft Microelect                 Unknown                          0.00                                        0.00                  0.00

519      License No.: AU 2007293476; Soft Microelectromec                 Unknown                          0.00                                        0.00                  0.00


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                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         13-14126 ERW                                                            Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:           NANOINK, INC.                                                           Filed (f) or Converted (c): 04/04/13 (f)
                                                                                             §341(a) Meeting Date:       05/29/13
Period Ending:       06/30/15                                                                Claims Bar Date:            07/12/13

                                1                                           2                       3                          4                   5                     6

                       Asset Description                                 Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                          Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

520      License No.: CA 2653XXX; Soft Microelectromechan                  Unknown                          0.00                                        0.00                  0.00

521      License No.: 7,081,624; Scanning Probe Microscop                  Unknown                          0.00                                        0.00                  0.00

522      License No.: 6,642,129; Parallel, Individually A                  Unknown                          0.00                                        0.00                  0.00

523      License No.: 6,867,443; Parallel, Individually A                  Unknown                          0.00                                        0.00                  0.00

524      License No.: 7,402,849; Parallel, Individually A                  Unknown                          0.00                                        0.00                  0.00

525      License No.: AU 2002360242; Parallel, Individual                  Unknown                          0.00                                        0.00                  0.00

526      License No.: CA 2,454,963; Parallel, Individuall                  Unknown                          0.00                                        0.00                  0.00
527      License No.: ZL02817715.0; Parallel, Individuall                  Unknown                          0.00                                        0.00                  0.00

528      License No.: EP 1410436 B1; Parallel, Individual                  Unknown                          0.00                                        0.00                  0.00

529      License No.: DE 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

530      License No.: FR 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

531      License No.: IT 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

532      License No.: UK 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

533      License No.: ES 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

534      License No.: CH 1410436; Parallel, Individually                   Unknown                          0.00                                        0.00                  0.00

535      License No.: JP 2005-507175; Parallel, Individua                  Unknown                          0.00                                        0.00                  0.00

536      License No.: KR XX-XXXXXXX; Parallel, Individual                  Unknown                          0.00                                        0.00                  0.00

537      License No.: JP 2009-198513; Parallel, Individua                  Unknown                          0.00                                        0.00                  0.00

538      Computer Equipment - Dell Precision 530 desktop.                  Unknown                          0.00                                        0.00                    FA


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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

           "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




539      Computer Equipment - HP Oscilliscope 54600.                  Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




540      Computer Equipment - Dell Optiplex GX240 desktop             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets




541      Computer Equipment - Dell Optiplex GX260.                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "




542      Computer Equipment - Dell Latitude.                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


543      Computer Equipment - NEC LCD 3000 Large Flat Pan             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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                                                       Individual Estate Property Record and Report
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Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

544      Computer Equipment - Precision 450.                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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545      Computer Equipment - Dell Dimension 4700.                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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546      Computer Equipment - Dell PowerEdge SC430.                   Unknown                          0.00                                        0.00                    FA
          Located in California

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3047. "


547      Computer Equipment - Dell Latitude D510.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.

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                                                       Individual Estate Property Record and Report
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Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


548      Computer Equipment - Dimension 5150.                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "

549      Computer Equipment - Dell Latitude D510.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


550      Computer Equipment - Dell Latitude D510.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
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         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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551      Computer Equipment - Dell.                                   Unknown                          0.00                                        0.00                    FA


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                                                      Individual Estate Property Record and Report
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Case Number:       13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:         NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                       §341(a) Meeting Date:       05/29/13
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                      Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
           (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                  and Other Costs)                                                  Remaining Assets

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552      Computer Equipment - Dell DIM 9200.                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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553      Computer Equipment - 4GB DDR2 - ERP Server.                 Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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554      Computer Equipment - Dell Dimension 9150.                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
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                                                       Individual Estate Property Record and Report
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Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
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                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



555      Computer Equipment - Inspiron 6400.                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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         BANKRUPTCY CASE. ALL SALE PROCEEDS
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556      Computer Equipment - Dell Inspiron 6400.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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         BANKRUPTCY CASE. ALL SALE PROCEEDS
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557      Computer Equipment - Dell Inspiron 6400.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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         BANKRUPTCY CASE. ALL SALE PROCEEDS
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558      Computer Equipment - Dual Core Xeon Processor.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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                                                       Individual Estate Property Record and Report
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Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
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559      Computer Equipment - Bruce's new laptop.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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560      Computer Equipment - backup server.                          Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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561      Computer Equipment - part of SEM/Nano Quartz pro             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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                                                       Individual Estate Property Record and Report
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Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

562      Computer Equipment - PC for Stage Control Projec             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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563      Computer Equipment - Barracuda Spam Firewall 200             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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564      Computer Equipment - NB Sony VAIO.                           Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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565      Computer Equipment - Dell Precision 390 converti             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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                                                       Individual Estate Property Record and Report
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Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         NUMBER 3052. "


566      Computer Equipment - Dell Precision 390 converti             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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567      Computer Equipment - NB Dock Sony | VGP-PRSZ1 RT             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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568      Computer Equipment - Firewall for Skokie.                    Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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569      Computer Equipment - Firewall for Campbell.                  Unknown                          0.00                                        0.00                  0.00

570      Computer Equipment - NB SONY VAIO | VGN-SZ440N01             Unknown                          0.00                                        0.00                    FA

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                                                       Individual Estate Property Record and Report
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Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

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571      Computer Equipment - Precision 690 Mini-tower.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


572      Computer Equipment - NB SONY VAIO | VGN-SZ440N01             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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573      Computer Equipment - Server: Domain controller.              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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                                                       Individual Estate Property Record and Report
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Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

574      Computer Equipment - NB SONY VAIO VGN-BX760NS1.              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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575      Computer Equipment - NB SONY VAIO VGN-BX760N1.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
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         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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576      Computer Equipment - NB SONY VAIO VGN-BP760P2.               Unknown                          0.00                                        0.00                    FA
          Located in California.

         "THIS ASSET WAS SOLD IN THE SALE DOCKETED AS
         DOCKET NUMBER 115 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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577      Computer Equipment - NB HP| 6910P RM260UT#ABA                Unknown                          0.00                                        0.00                    FA
         RT
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED

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                                                       Individual Estate Property Record and Report
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Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


578      Computer Equipment - Dell Precision 390 converti             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


579      Computer Equipment - Dell Precision 690 Minitowe             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
         NUMBER 3052. "


580      Computer Equipment - NB Dock HP|EN489UT.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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                                                                                                                                          Printed: 07/18/2015 04:10 PM   V.13.23
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
Case Name:          NANOINK, INC.                                                       Filed (f) or Converted (c): 04/04/13 (f)
                                                                                        §341(a) Meeting Date:       05/29/13
Period Ending:      06/30/15                                                            Claims Bar Date:            07/12/13

                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

581      Computer Equipment - HP Compaq 6910p Notebook.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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582      Computer Equipment - HP Compaq 6910p Notebook.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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583      Computer Equipment - Dell Precision T3400 conver             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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         NUMBER 3052. "


584      Computer Equipment - Server Quartz web interface             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
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                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets



585      Computer Equipment - Intel Core Duo.                         Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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         BANKRUPTCY CASE. ALL SALE PROCEEDS
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586      Computer Equipment - Quad Core Intel.                        Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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587      Computer Equipment - Server management system.               Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
         BANKRUPTCY CASE. ALL SALE PROCEEDS
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588      Computer Equipment - Sony VAIO VGN-TZ295N.                   Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        13-14126 ERW                                                        Trustee: (330480)           DEBORAH K. EBNER, Trustee
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                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

         BANKRUPTCY CASE. ALL SALE PROCEEDS
         RECEIVED AT THIS SALE ARE POSTED AS ASSET
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589      Computer Equipment - Intelcore 2 duo ULV U7600.              Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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590      Computer Equipment - Dell Latitude D630.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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         NUMBER 3052. "


591      Computer Equipment - Dell Latitude D630.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
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                                                       Individual Estate Property Record and Report
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                               1                                       2                       3                          4                   5                     6

                       Asset Description                            Petition/          Estimated Net Value             Property         Sale/Funds            Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,       Abandoned         Received by        Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate         Gross Value of
Ref. #                                                                                   and Other Costs)                                                  Remaining Assets

592      Computer Equipment - Dell Latitude D630.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
         AS DOCKET NUMBER 117-2 IN THE NANOINK, INC.
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593      Computer Equipment - Dell Latitude D630.                     Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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594      Computer Equipment - Laser HP Laserjet 5200 Q754             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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         BANKRUPTCY CASE. ALL SALE PROCEEDS
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595      Computer Equipment - Quad Q6600.                             Unknown                          0.00                                        0.00                    FA
          "THIS ASSET WAS SOLD IN THE SALE DOCKETED
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